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EXHIBIT 5
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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division
AUDIO MPEG, INC., )
Plaintiff,
Vv. Case No.: 1:05 cv 565 CMH/LO
THOMSON INC., ef al., 5
Defendants.

AFFIDAVIT OF MICHAEL O’HARA IN SUPPORT OF
THOMSON S.A.'S REPLY BRIEF IN SUPPORT OF ITS
MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

FOR LACK OF SUBJECT MATTER AND PERSONAL JURISDICTION

J, Michael O’Hara, on oath hereby depose and state:

1, I currently serve as Thomson Inc.’s President. 1 have served as President for the
last 3 years and have worked for Thomson Inc. and its predecessors for 23 years.

2. Based on my position and experience, I am extremely familiar with the corporate
structure, activities, and finances of Thomson Inc.

3. Thomson Inc. is a Delaware corporation with its principal place of business in
Indianapolis, Indiana. Thomson Inc. is a wholly owned subsidiary of Thomson $.A. Thomson
S.A. is incorporated under the laws of France and has its principal place of business in Boulogne-
Billancourt, France.

4, Thomson Ine, and Thomson S.A. maintain separate corporate structures,
including separate boards, separate management, and separate employees.

5. Thomson Inc. also maintains finances separate from those of Thomson Inc.

6, Thomson Inc. controls its day-to-day activities.

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7. Thomson Inc. is responsible for the sales and marketing of products in the United
States.

8. While Thomson S.A. is the registered owner of the domain names rca.com and
rcaaudiovideo.com, Thomson Inc. controls the content and design of those web sites.

9, The content on the www.rca.com and www.rcaaudiovideo.com websites is posted

by Thomson Inc.
I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on September 28, 2005.
y/
Deh oe

By:____ Michael O’Hara

Title: President, Thomson Inc.

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